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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
              v.                                 :   Case No: 1:21-CR-161-RBW-1
                                                 :
DUSTIN BYRON THOMPSON                            :
                                                 :
       Defendant.                                :

    SECOND SUPPLEMENT TO DEFENDANT’S POSITION WITH RESPECT TO
                          SENTENCING

       Comes Now the defendant, Dustin Byron Thompson, by and through undersigned

counsel, and respectfully submits this Second Supplement to his Position with Respect to

Sentencing.

       Counsel indicated in Mr. Thompson’s Position with Respect to Sentencing that he

expected to be interviewed by the U.S. House Select Committee to Investigate the January 6th

Attack on the U.S. Capitol. On November 16, 2022, that interview occurred via WebEx.

Counsel was present with Mr. Thompson in the Alexandria Detention Center while he was

interviewed by the Committee for approximately two and a half hours. While this interview was

not conducted under oath, Mr. Thompson affirmed that he understood that it is a crime to lie to

congress. Mr. Thompson understands that the Select Committee is not associated with the

Department of Justice or this case.

       During the interview Mr. Thompson explained how he gradually became more involved

in Qanon and other conspiracy theories related to the 2020 election. He described his

preparation and travel to the D.C. area for the January 6 rally. He truthfully recounted his

conduct on the Capitol grounds and inside the Capitol Building. In closing he described his

counseling with Diane Benscoter.
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       In addition to meeting with the Select Committee, Mr. Thompson also endeavored to

assist the government by providing information related to Joseph Biggs, who along with other

Proud Boys, was incarcerated in the same unit of the Alexandria Detention Center with Mr.

Thompson. As a unit worker, Mr. Thompson was allowed out of his cell to help with chores and

pass out meal trays. During their time in the same unit, Mr. Biggs made various comments

relating to his case which Mr. Thompson relayed to the government through counsel.

Ultimately, this information was not particularly useful to the government.


Filed: November 17, 2022.                                   Respectfully submitted,

                                                            Dustin Byron Thompson


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of November, 2022, I electronically filed the
foregoing motion with the clerk of the court using the CM/ECF system, which will send an
electronic copy to the following:

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